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 5
                        UNITED STATES DISTRICT COURT
 6
                       CENTRAL DISTRICT OF CALIFORNIA
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 8   KENNETH LIPTON,                           Case No.: 2:15-cv-07676-MFW-AJW
 9                   Plaintiff,
                                               ORDER RE: DISMISSAL OF
10         v.                                  ACTION
                                               WITH PREJUDICE
11   PIONEER CREDIT
     RECOVERY, INC.,
12                                            Judge: Hon. Michael W. Fitzgerald
                    Defendant
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19         IT IS HEREBY ORDERED that pursuant to the Stipulation of the parties to
20   dismiss this case with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), this
21   entire action is dismissed without prejudice. Each party shall bear its own costs and
22   expenses.
23

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25   DATE: September 23, 2016
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                                                   HON. MICHAEL W. FITZGERALD
27                                                  U.S. DISTRICT COURT JUDGE
28

     [PROPOSED] ORDER OF DISMISSAL OF ACTION WITH PREJUDICE
